Case 21-55752-pmb        Doc 104    Filed 06/10/22 Entered 06/10/22 10:50:54           Desc Main
                                   Document      Page 1 of 6




      IT IS ORDERED as set forth below:



      Date: June 10, 2022
                                                    ________________________________
                                                                Paul Baisier
                                                        U.S. Bankruptcy Court Judge

      _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                                )
 IN RE:                                         )         CHAPTER 7
                                                )
 NEW VISION REALTY &                            )         CASE NO. 21-55752-PMB
 INVESTMENTS, INC.,                             )
                                                )         JUDGE BAISIER
          Debtor.                               )
                                                )

 S. GREGORY HAYS, as Chapter 7 Trustee for      )
 the Bankruptcy Estate of New Vision Realty &   )
 Investments, Inc.,                             )
                                                )
          Movant,                               )
 v.                                             )         CONTESTED MATTER
                                                )
 NORMANDY CAPITAL TRUST,                        )
 KRT PROPERTIES, LLC,                           )
 FULTON COUNTY TAX COMMISSIONER,                )
 CITY OF EAST POINT,                            )
 NEW VISION REALTY &                            )
 INVESTMENTS, INC.,                             )
                                                )
          Respondents.                          )
                                                )



 18259804v1
Case 21-55752-pmb        Doc 104     Filed 06/10/22 Entered 06/10/22 10:50:54            Desc Main
                                    Document      Page 2 of 6




 ORDER GRANTING TRUSTEE’S MOTION AUTHORITY TO (A) SELL PROPERTY OF
  THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
     ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING

         On May 12, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

 estate (the “Bankruptcy Estate”) of New Vision Realty & Investments, Inc., (“Debtor”), filed

 Trustee’s Motion for Authority to (A) Sell Property of the Bankruptcy Estate Free and Clear of All

 Liens, Interests, and Encumbrances and (B) Disburse Certain Proceeds at Closing [Doc. No. 98]

 (the “Sale Motion”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr. P.

 2002(a)(2), 6004(a), 6004(c), and 9014. In the Sale Motion, Trustee sought, among other things,

 an order from the Court authorizing the sale (“Sale”) of that certain real property known generally

 as 2562 Meadow Lark Drive, East Point, Fulton County, Georgia 30344 (the “Property”), to

 Rezwanul Rajib (the “Purchaser”), “as is, where is,” for the sale price of $407,000.00 (the

 “Purchase Price”) in accordance with the terms of a Purchase and Sale Agreement (the

 “Contract”), attached to the Sale Motion as Exhibit “A.”

         Also on May 12, 2022, Trustee filed Notice of Trustee's Motion for Authority to (A) Sell

 Property of the Bankruptcy Estate Free and Clear of All Liens, Interests, and Encumbrances and

 (B) Disburse Certain Proceeds at Closing; Deadline to Object; and for Hearing [Doc. No. 99]

 (the “Notice”) regarding the Sale Motion, in accordance with the Second Amended and Restated

 General Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite

 parties in interest on May 12, 2022 [Doc. No. 100], and May 18, 2022 [Doc. No. 101].

         The Notice provided notice of the opportunity to object whereupon a hearing would be

 held on June 13, 2022, at 1:10 p.m., pursuant to the procedures in the Second Amended and

 Restated General Order No. 24-2018. No creditor or party in interest filed an objection to the Sale

 Motion prior to the objection deadline provided in the Notice.



 18259804v1
Case 21-55752-pmb          Doc 104     Filed 06/10/22 Entered 06/10/22 10:50:54            Desc Main
                                      Document      Page 3 of 6




         The Court having considered the Sale Motion and all other matters of record, including the

 lack of objection by any creditor or party in interest to the relief requested in the Sale Motion, ad

 based on the foregoing, finding that no further notice or hearing is necessary, and, the Court having

 found good cause exists to grant the relief requested in the Sale Motion, it is hereby

         ORDERED that the Sale Motion is GRANTED. It is further

         ORDERED that the Contract is APPROVED and its terms are incorporated into this

 Order. It is further

         ORDERED that Trustee is authorized and directed to take any and all actions necessary

 or appropriate to (a) consummate the Sale of the Property to Purchaser and perform under the

 terms of the Contract; (b) execute, perform, consummate, implement, and close fully the Sale

 together with all additional instruments and documents that may be reasonably necessary; and (c)

 execute and perform all of the obligations of Trustee under the Contract. It is further

         ORDERED that this Order shall be binding upon all creditors (whether known or

 unknown) of Debtor, Purchaser, Trustee, the Bankruptcy Estate, and their respective successors,

 assigns, affiliates, and subsidiaries. It is further

         ORDERED that upon consummation of the closing of the Sale, the Property shall be

 transferred and assigned to Purchaser free and clear of all liens, claims, interests, and

 encumbrances with all unpaid, valid, and enforceable liens, claims, interests, and encumbrances

 attaching to the Sale proceeds with the same extent, validity, and priority that they held in the

 Property. It is further

         ORDERED that the Sale of the Property to Purchaser is “as is,” “where is,” and without

 representation or warranty, express or implied, from Trustee. It is further

         ORDERED that the transactions contemplated by the Contract and this Order are



 18259804v1
Case 21-55752-pmb        Doc 104       Filed 06/10/22 Entered 06/10/22 10:50:54           Desc Main
                                      Document      Page 4 of 6




 undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the Bankruptcy

 Code, and accordingly, the reversal or modification on appeal of the authorization provided herein

 to consummate the Sale of the Property shall not affect the validity of the Sale to the Purchaser,

 unless such authorization is duly stayed pending such appeal. The Purchaser is a purchaser in

 good faith of the Property, and he is entitled to all the protections afforded by Section 363(m) of

 the Bankruptcy Code. It is further

         ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

 enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

 any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the

 Sale of the Property at any time, at which time the gross sales proceeds shall be paid to Trustee

 pursuant to this Order, and those disbursements requested by the Trustee in his Sale Motion are

 authorized to be made. It is further

         ORDERED that this Court retains exclusive jurisdiction over any action relating to, based

 upon, or arising from disputes or controversies relating to or concerning the Sale, the Contract, or

 this Order.

                                        [END OF DOCUMENT]

 Order prepared and presented by:

 ARNALL GOLDEN GREGORY LLP
 Attorneys for Chapter 7 Trustee

 By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
 171 17th Street, N.W., Suite 2100
 Atlanta, Georgia 30363-1031
 Phone: (404) 873-8500
 michael.bargar@agg.com




 18259804v1
Case 21-55752-pmb        Doc 104    Filed 06/10/22 Entered 06/10/22 10:50:54            Desc Main
                                   Document      Page 5 of 6




 Identification of parties to be served:

 Office of the United States Trustee, 362 Richard B. Russell Bldg.,75 Ted Turner Drive, SW,
 Atlanta, Georgia 30303

 S. Gregory Hays, Chapter 7 Trustee, Hays Financial Consulting, LLC, Suite 555, 2964 Peachtree
 Road, Atlanta, GA 30305

 KRT Properties, LLC, c/o Travis Dziema, 112 Andi Lane, Anderson, SC 29626

 KRT Properties, LLC, c/o Victoria Kealy, The Wright Law Firm, 50 Lenox Point, NE, Suite B,
 Atlanta, GA 30324

 KRT Properties, LLC, c/o Roy Reeves, Registered Agent, 591 South Main Street, Moultrie, GA
 31768

 Roy Reeves, Manager, KRT, Properties, LLC, P.O. Box 98, Moultrie, GA 31776

 Roy Reeves, Manager, KRT Properties, LLC, 591 South Main Street, Moultrie, GA 31768

 Normandy Capital Trust, c/o Gwendolyn J. Godfrey, Polsinelli PC, 1201 West Peachtree Street, NW,
 Suite 1100, Atlanta, GA 30309

 Normandy Capital Trust, c/o Austin E. James, Fidelity National Law Group, Suite 475, 4170 Ashford
 Dunwoody Road, Atlanta, GA 30319

 Normandy Capital Trust, c/o Wilmington Savings Fund Society, FSB, Registered Agent, 500,
 Delaware Avenue 11th Floor, Wilmington, DE 19801

 Internal Revenue Service, c/o United States Attorney’s Office, 600 Richard B. Russell Federal
 Building, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303-3309

 Internal Revenue Service, P. O. Box 7346, Philadelphia, PA 19101-7346

 Internal Revenue Service, c/o Special Assistant United States Attorney, 401 West Peachtree Street,
 NW, Stop 1000-D, Atlanta, Georgia 30308

 Internal Revenue Service, Insolvency Unit, 401 West Peachtree Street, NW, Stop 334-D, Atlanta,
 Georgia 30308

 Internal Revenue Service, c/o Department of Justice, Tax Division, Civil Trial Section, Southern
 Region, Post Office Box 14198, Ben Franklin Station, Washington, D.C. 20044




 18259804v1
Case 21-55752-pmb       Doc 104     Filed 06/10/22 Entered 06/10/22 10:50:54           Desc Main
                                   Document      Page 6 of 6




 Internal Revenue Service, Centralized Insolvency Operation, Post Office Box 21126, Philadelphia,
 PA 19114-0326

 United States Attorney General, U.S. Department of Justice, 950 Pennsylvania Avenue, NW,
 Washington, DC 20530-0001

 Georgia Department of Revenue, Bankruptcy Section, Post Office Box 161108, Atlanta, Georgia
 30321

 Georgia Department of Revenue, Taxpayer Services, Post Office Box 1054990, Atlanta, Georgia
 30348

 Georgia Department of Revenue, Sales and Use Tax, Post Office Box 105296, Atlanta, Georgia
 30348

 Office of the Attorney General, 40 Capitol Square, SW, Atlanta, GA 30334

 Dr. Arthur Ferdinand, Fulton County Tax Commissioner, 141 Pryor Street, Suite 1106, Atlanta, GA
 30303

 Damika Pitts, Tax Tag Supervisor, Fulton County Tax Commissioner, 141 Pryor Street, Suite 1106,
 Atlanta, GA 30303

 City of East Point, 2757 East Point Street, East Point, GA 30344

 Nicole Carson, The Carson Law Group, LLC, 225 Arthur Drive, McDonough, GA 30252

 New Vision Realty & Investments, Inc., 3645 Marketplace Boulevard, Unit 130-593, Atlanta,
 GA 30344

 Michael Campbell, Attention: Denise Hammock, Campbell & Brannon, LLC, 5565 Glenridge
 Connector, Suite 350, Atlanta, GA 30342

 Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA 30363-
 1031




 18259804v1
